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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------------------------------------x
BIGU HAIDER, and MOHAMMAD ISLAM Individually, on
Behalf of Themselves and All Others Similarly Situated, as
Class Representatives,

                                   Plaintiffs,


        -against-


LYFT, INC.

                                    Defendant.
----------------------------------------------------------------------------------------x

        Plaintiffs Bigu Haider, and Mohammad Islam (“named plaintiffs”), individually, and on

behalf of themselves and all others similarly situated (“the Class”) and as class representatives, by

and through counsel, Mirer, Mazzocchi & Julien, PLLC, and Zubin Soleimany, hereby allege as

follows:

                                         NATURE OF THE CASE

        1.       This is a class action for breach of contract, fraud, and violation of GBL 349

brought against Defendant Lyft by Plaintiffs, Lyft drivers, on behalf of themselves and all other

similarly situated persons as stated below.


        2.       As more fully stated below, named Plaintiffs and the class they seek to represent

are Lyft drivers who are transportation industry workers. They drive black cars in interstate

commerce as part of Lyft’s New York City fleet. As transportation workers engaged in interstate

commerce, New York City Lyft drivers are exempt from Section 1 of the Federal Arbitration Act,

9 U.S.C. § 1. See, Singh v. Uber Technologies, Inc., 939 F.3d 210 (3d Cir. 2019); See, Cunningham

V Lyft, Inc., 2020 US DIST. LEXIS 53656, and the 2019 Supreme Court decision in New Prime

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Inc. v Oliveira, 139 S.Ct. 532, which held that the issue of exemption from the FAA is for the

Court, not an arbitrator, to decide.

       3.       This case is being brought to compensate Plaintiffs and the class they will seek to

represent, for Lyft having deducted from their pay, calculated as a percentage of each fare, the

sales taxes and the Black Car Fund (workers’ compensation) surcharge which should have been

paid by the customer, and on top of the fare, not deducted from within the fare.

       4.       These violations began in November 2014 and ended on August 8, 2017. Lyft’s

decision to stop deducting these amounts from within the fare, and thus from driver pay was made

shortly after Uber stopped the same practice on May 22, 2017.

       5.       These violations have harmed each member of the class in an amount equal to

approximately 11.375% of all class revenues in the relevant period. This percentage is made up

of the New York City sales tax rate of 8.875% and the Black Car Fund (BCF) surcharge of 2.5%,

both of which should have been added to the fare for each trip, and not deducted from the driver.

       6.       As will be stated more fully herein, Lyft owes Plaintiffs, and the class they seek to

represent, the amounts improperly deducted from their pay prior to August 8, 2017.

       7.       Plaintiffs bring this action on behalf of themselves and similarly situated current

and former New York City Lyft drivers pursuant to Rule 23 of the Federal Rules of Civil

Procedure.


                                             PARTIES

Plaintiff Bigu Haider

       8.       Plaintiff Bigu Haider is a resident of Flushing, Queens County, New York who has

been driving for Lyft since in or about the summer of 2014.


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         9.       Plaintiff Haider worked for Lyft from in or about early September 2014 until July

2018.

         10.      Plaintiff Haider successfully opted out of the arbitration clause in Lyft’s

Agreements.

         11.      At all times relevant to this complaint, Plaintiff Haider was expected to and did

provide services in Interstate Commerce by driving passengers into other states on a regular basis.

         12.      Approximately 5% of the trips he performed while driving for Lyft crossed state

lines. Thus he crossed state lines at least on or on a weekly basis,

         13.      Because these interstate trips were typically longer than average trips, they

accounted for an even higher percentage of Plaintiff Haider’s total gross bookings while driving

for Lyft.

         14.      Moreover, several times a week he also transported passengers in interstate

commerce by way of driving to or from John F Kennedy International Airport, LaGuardia Airport

and/or Newark Liberty International Airport to pick up or drop off passengers in interstate

commerce.

Plaintiff Mohammad Islam

         15.      Plaintiff Mohammad Islam (“Islam”) is a resident of Astoria, Queens County, New

York who has been actively working as a Taxi and/or Black Car driver and has worked as a Black

Car driver for Lyft since in or about 2014.

         16.      Islam has driven for Lyft from in or about August 2014 to the present.

         17.      At all times relevant to this complaint, Plaintiff Islam was expected to and regularly

did provide services in Interstate Commerce by driving passengers into other states on a regular

basis.

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         18.    Approximately 5% of the trips he performed while driving for Lyft crossed state

lines.

         19.    Thus he crossed state lines at least on or on a weekly basis,

         20.    Moreover, several times a week he also transported passengers in interstate

commerce by way of driving to or from John F Kennedy International Airport, LaGuardia Airport

and/or Newark Liberty International Airport to pick up or drop off passengers in interstate

commerce.


Defendant Lyft, Inc.


         21.    Lyft, Inc. (“Lyft”) is a Delaware corporation.

         22.    Lyft maintains its headquarters at 185 Berry Street, San Francisco, CA 94107.

         23.    Lyft operates two (2) subsidiaries in New York, each of which currently holds a

New York City Taxi Limousine Commission (TLC) license to operate a For-Hire Vehicle (FHV)

Base.

         24.    The Lyft workforce is managed through these bases as they are responsible for the

dispatch of each of the trips to the Plaintiffs.

         25.    The Lyft FHV base subsidiaries are responsible under the N.Y. Tax Law for

collection and payment of the 8.875% sales tax on black car rides.

         26.    Similarly, under the New York Executive Law, each FHV base is responsible for

collecting and remitting a 2.5% surcharge on rides to the BCF, an injured workers’ fund for black

car drivers.



                                  JURISDICTION AND VENUE

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         27.    Jurisdiction is proper as this Court under 28 USC 1332 based on diversity of

citizenship. The amount in controversy exceeds $75,000.

         28.    Defendant Lyft is subject to personal jurisdiction in the State of New York as Lyft does

business in New York.

         29.    Venue is proper in this District because Defendants conduct business in this Judicial

District, and the acts and/or omissions giving rise to the claims herein alleged took place in this

District.


                                     BACKGROUND FACTS

         All New York City Lyft Drivers Are Parties To Standard Contracts With Lyft

         30.    Lyft operates in New York City as a group of two Black Car bases, each of which

is licensed by the New York City Taxi and Limousine Commission (TLC).

         31.    These bases are subsidiaries of Lyft, which is the owner of the Lyft app.

         32.    All black car vehicles operating in New York City must be affiliated with a base in

order to accept dispatches, but drivers are permitted to accept dispatches from any base under TLC

rules.

         33.    All requests for Lyft service are made through the Lyft smartphone application (the

Lyft “app”) and are dispatched to Lyft drivers through Lyft’s centralized dispatch network that

also operates via the Lyft app.

         34.    At all times relevant to this complaint, in order to accept dispatches from Lyft,

drivers entered into a contract with Lyft which specified that Lyft would set the fare based on a

base-charge-plus-time-plus-distance formula, that Lyft will collect the monies, and pass through

to drivers their earnings, which were to be net of Lyft’s service fee.



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       35.     At all times relevant to this complaint, Lyft effectively paid its drivers a percentage

of the fare for each trip. Lyft passengers paid a full fare amount to Lyft, which Lyft, jointly with

the FHV bases, remitted to the Driver after deducting its fee of 20% or 25%.

       36.     Drivers’ rates of pay were set forth in the form of fare rates published on its website

and its app, and by the commission rates/“Lyft Fees” charged to drivers, established by Defendant.

       37.     At all times relevant, Defendant made additional deductions from within

passengers’ fares equal to the cost of sales taxes and the BCF surcharge. These deductions from

drivers’ pay were made in violation of the contracts between Lyft and New York City drivers.

       38.     Specifically, in order to receive Lyft dispatches, all Plaintiffs and similarly situated

persons were required to electronically “accept” Lyft’s “Terms of Service” (hereinafter, “the

Agreement” or “the Contract”) on their phones.

       39.     The rates to be charged for trips in a given City are set forth in a separate section

of the Lyft Driver website and are listed on the website for each City that Lyft serves.

       40.     Trip fare schedules were subject to unilateral change by Lyft and percentages due

to drivers under the Agreement could be changed unilaterally by Lyft in subsequent addendums

offered to drivers. One contract even notes that such terms could be amended simply by Lyft

updating the terms on the website that hosted Lyft’s Terms and Conditions.

       41.     In order to receive dispatches after Lyft issued a new Contract, a driver was required

to agree to the new contract, which appeared on his or her phone, before any new dispatch could

come in.

       42.     All drivers were bound by contract with Lyft to provide driving services in

exchange for receipt of a percentage of the fare collected by Lyft from passengers.




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 Lyft Has Structured its New York City Business Such That New York City-based Lyft
               Drivers are Required to Engage in Interstate Commerce

         43.   At all times relevant, named Plaintiffs and members of the class they seek to

represent were expected to and did drive passengers across state lines.

         44.   Lyft’s business model contemplates that Lyft’s New York City Drivers are

expected to perform interstate trips as part of their regular work.

         45.   At all times relevant, Lyft’s customer-facing websites have advised customers

about the taxes and surcharges that are added to the fare for out-of-state trips. The current website

states: “Return tolls will be added to Westbound trips through the Holland Tunnel, Lincoln Tunnel,

George Washington Bridge, Goethals Bridge, and Outerbridge Crossing. A $20 surcharge which

includes tolls, as added to the fare on all trips between New York and New Jersey. If the trip

begins in New Jersey and crosses the Verrazano Narrows Bridge, there is an additional $19

surcharge, for a total of $39 added to the price which again includes tolls.

https://www.lyft.com/rider/cities/new-york-city-ny.      In 2017 Lyft’s customer facing website

similarly states: “Heads up: $20 surcharge will be added to all trips between New York and New

Jersey inclusive of tolls.” https://www.lyft.com/cities/new-york-city-ny (Date accessed: May 30,

2017).

         46.   New York City-based Lyft drivers routinely transport passengers between New


York and New Jersey.

         47.   Specifically, in entering ride locations, passengers may choose any destination

within 100 miles of their pick-up location, irrespective of the state of the destination.

         48.   Lyft's policies state that trips originating in New York City may extend as far as

100 miles.


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        49.      Thus, New York City-based Lyft drivers may be dispatched to locations in New

Jersey, Connecticut, or Pennsylvania.

        50.      Once a driver receives a dispatch, Lyft specifies the pick-up location, but withholds

the drop-off location until the passenger has entered the vehicle.

        51.      Drivers are instructed that they will be penalized should they not accept a Lyft

dispatch. If a driver refuses a trip after learning of the destination, Lyft considers such a refusal to

be a "cancellation."

       52.       Lyft has maintained a deactivation policy that stated that drivers' accounts could be

deactivated for excessive cancellations. Specifically, a tutorial provided for Lyft drivers states "If

you cancel 15 or more of your last 100 accepted rides, not including passenger no-shows, your

driver account could be at risk." Accordingly, no driver had the option to exclude performing

interstate trips, without risking further exposure to deactivation.

       53.       Thus, acceptance of interstate trips was a term and condition of Plaintiffs’ access

to Lyft dispatches.

       54.       Named Plaintiffs were required to perform interstate trips as a term and condition

of his contract with Lyft.

       55.       Named Plaintiffs did in fact perform interstate trips.


                                      NEW YORK TAX LAW

       56.       Lyft rides are subject to New York State sales tax.

       57.       Within New York City, the tax rates for state and local taxes and BCF are 8.875%

and 2.5% respectively. See, N.Y. Tax L. §§1105, 1109; N.Y.C. Admin. Code §11-2001 (Requiring

collection of 4% statewide sales tax, 0.375% sales tax within the Metropolitan Commuter



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Transportation District, and 4.5% local sales tax within New York City); Plan of Operation of the

New York Black Car Operators’ Injury Compensation Fund, Inc., Article VIII, Section 6.

        58.     State law and regulations do not permit a black car base, or any vendor for sales tax

purposes, to treat the sales tax as part of the cost of services.

        59.     Rather, the law requires sales tax amounts to be charged separately and on top of

the sales price/fare. N.Y. Tax L. § 1132 (a); 20 N.Y.C.R.R. § 532.1 (b).

        60.     Similarly, no person required to collect tax is allowed to absorb the tax within the

sales price. N.Y. Tax. L. § 1133; 20 N.Y.C.R.R. 532.1(c).

        61.     The N.Y. Tax Law requires sales tax to be charged to the customer and stated

separately on customer receipts.

        62.     By dispatching trips under the Agreements, Lyft, jointly with Lyft’s subsidiary

Black Car bases, were the vendors of transportation services under applicable New York Tax Law.

        63.     As the vendor, Lyft and its subsidiary Black Car bases were responsible to collect

and remit sales tax.

        64.     At all times relevant, Lyft was required to, and acknowledged that it was

responsible for complying with the Tax Law.

        65.     Indeed, as Lyft completely controls the electronic payment process, there would be

no way for the driver to collect amounts for tax independently.

        66.     In the relevant period until August 8, 2017, Lyft customer receipts show that the

Fare charged to the customer represents the consumer sales price for transportation services, based

on the distance and time for each trip.




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       67.       New York City Lyft customer receipts issued prior to August 8, 2017 list only a

single amount, a total un-itemized sales price, which represents the cost of the fare, with no

mention at all of the sales tax or BCF surcharge.

       68.       When tax is not listed on a customer receipt, the price listed is deemed the amount

of the sales price, not including tax, under New York Tax Law and regulations. See, 20 N.Y.C.R.R.

§ 532.1(b)(3).


 BREACH OF JULY 28, 2014 CONTRACT: LYFT’S BREACH OF CONTRACT FROM
            NOVEMBER 24, 2014 THROUGH NOVEMBER 2, 2015

       69.       Pursuant to New York City drivers’ contracts with Lyft, drivers were entitled to

receive the fare charged to the customer, net of Lyft’s Fee, or commission, on each ride.

       70.       During the relevant period, drivers contracted with Lyft to pay Lyft Fees of up to

20% of each fare to Lyft.

       71.       As set forth in detail below, from the time Lyft entered the New York City market

in 2014 until August 8, 2017, Lyft illegally deducted the taxes and the BCF Surcharge from the

drivers’ pay, in violation of its contract to deduct only Lyft Fees.

       72.       The July 2014 contract set forth both the relationship between the passenger and

Lyft and between the driver and Lyft.

       73.       This contract does not have numbered sections, but rather, sections are divided by

subject headers.

       74.       Under the subject header “Payments,” sub-header “Administrative Fee,” the July

2014 contract states, in relevant part:

       Lyft receives an administrative fee of up to 20% (the “Administrative Fee”) of each
       Charge or Donation of more than $0 that a Rider makes to a Driver, net of the $1
       per ride trust & safety fee (the “Trust & Safety Fee”). For the sake of clarity, the

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       Administrative Fee is assessed on a Donation or Charge, as applicable, after the
       assessment of the Trust & Safety Fee.

       75.     The July 28, 2014 Agreement states plainly that Lyft would only retain up to 20%

from each Fare before remitting the remainder of the Fare to the driver.

       76.     That is, Lyft referred to its fee owed as an “Administrative Fee” of up to twenty

percent.

       77.     Other than the Trust and Safety Fee, which does not apply to trips originating in

New York City, Lyft was not permitted to retain any monies in addition to the Administrative Fee.

       78.     In New York City, however, since at least November 24, 2014, Lyft has

additionally retained various amounts from within each Ride Fare to pay Lyft’s obligations for

combined state and local sales taxes, and for the BCF surcharge.

       79.     Indeed, Lyft has admitted that it does this.

       80.     Specifically, on November 18, 2014, Seth Melnick, Lyft’s “NYC Market Manager”

e-mailed Lyft’s New York City drivers to inform them that Lyft would begin taking two additional

deductions from driver pay, on top of Lyft’s then-20% Administrative Fee or “commission.”

       81.     Quite plainly, the e-mail explained that Lyft would take these deductions in order

to cover the cost for sales tax and the Black Car Fund, stating:

              When we launched in NYC, we applied the same 20% commission that
       we’ve had across the country. NYC’s regulations have different requirements than
       anywhere else, since they collect both an 8% local sales tax as well as a 2% fee for
       the Black Car Fund. To cover these costs, we will be adding 10% to Lyft’s
       commission beginning Nov. 24. This will bring us in line with industry standards.

       82.     Although Melnick’s e-mail unequivocally stated that the 8% and 2% deductions

represented amounts required to be paid for sales tax and the Black Car Fund, this 10 percent

addition to the “Commission” appeared on driver pay statements as two discrete deductions of 8%

and 2%, respectively, each labelled “Ride Surcharge from Driver.” These “Ride Surcharges,”
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totaling 10% of each fare were levied in addition to the contractual Administrative Fee which was

indicated on the driver pay statements as “Lyft Fees.”1

        83.      Beginning in April 2015, Lyft increased the 8% “Ride Surcharge from Driver” to

an 8.875% “Ride Surcharge from Driver” and increased the 2% “Ride Surcharge from Driver” to

a 2.5% “Ride Surcharge from Driver,” thus precisely matching the sales tax and BCF surcharge

amounts required to be levied on Black Car services provided in New York City.

        84.      Lyft’s practice of retaining monies in addition to the 20% Administrative Fee, from

November 24, 2014 through November 2, 2015—the last day the July 28, 2014 contract was in

force—was a clear violation of the contract.

        85.      Nor did the November 18, 2014 nor April 6, 2015 emails constitute a valid

amendment of the July 28, 2014 contract, which required that, for any amendment, the new terms

would be either listed on the Lyft Platform, also known as the “Lyft App,” or provided in writing

and signed by drivers. The July 28, 2014 contract provides in relevant part:

        We may amend this Agreement at any time by posting the amended terms on the
        Lyft Platform. If We post amended terms on the Lyft Platform, You may not use
        the Services without accepting them. Except as stated below, all amended terms
        shall automatically be effective after they are posted on the Lyft Platform. This
        Agreement may not be otherwise amended except in writing signed by You and
        Lyft.




1
  It is unclear why, during this period, Lyft collected only an 8% Ride Surcharge from Driver for sales tax, and a 2%
Ride Surcharge from Driver for the Black Car Fund, when the proper amounts within New York City are 8.875% and
2.5% respectively. See, N.Y. Tax L. §§1105, 1109; N.Y.C. Admin. Code §11-2001 (Requiring collection of 4%
statewide sales tax, 0.375% sales tax within the Metropolitan Commuter Transportation District, and 4.5% local sales
tax within New York City); Plan of Operation of the New York Black Car Operators’ Injury Compensation Fund,
Inc., Article VIII, Section 6.
Indeed, on April 6, 2015, Lyft emailed its New York City drivers to inform them that Lyft was increasing Lyft’s
commission by 1.4%.

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       86.     Consistent with the additional charges not being a permissible amendment to

increase the Administrative Fee, such charges appeared as two discrete charges on

contemporaneous driver pay records, each labelled “Ride Surcharge from Driver.”

       87.     Thus, from on or about November 24, 2014 to on or about April 5, 2015, Lyft

breached the July 2014 contract to Plaintiffs’ detriment by deducting an extra approximately 10%

of the total Fare more than allowed by the terms of the contract.

       88.     Further, from on or about April 6, 2015 to on or about November 3, 2015, Lyft

breached the July 2014 contract to Plaintiffs’ detriment by deducting an extra approximately

11.4% of the total Fare more than allowed by the terms of the contract.

LYFT SUBSEQUENTLY SOUGHT TO COVER UP ITS BREACH OF THE JULY 2014
                                    CONTRACT
    89.  Thereafter, in order to disguise its breach of contract, Lyft consolidated the three

charges—two of which were unlawfully retained— into a single item, labelled “Lyft Fees.”

       90.     When “Driver Pay Records” from this period were printed after Lyft overhauled its

payment practices in August 2017, the newly printed records are not identical to the records saved

earlier, with the earlier records reflecting Lyft’s actual practice of taking two impermissible fees

in addition to the administrative fee, while later records hid this practice.

       91.     Specifically,   the   driver   pay      records   for   these    trips,   when   accessed

contemporaneously, or prior to Lyft’s August 2017 overhaul of its payment practices, showed

three deductions from the ride fees: a 20% deduction for “Lyft Fees,” one “Ride surcharge from

driver” of 2.5% of the Ride Fees, and one “Ride surcharge from driver” of 8.875% of the Ride

Fees. These are the exact percentages of the BCF surcharge and sales tax, respectively. See

Sample Driver Trip Record from July 19, 2015, below.




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       92.    Oddly, and with no explanation the same trip record for the exact same trip, when

accessed in October 2017, after Lyft overhauled its driver payment practices, showed only one

deduction from the Ride Fees, a “Lyft Fee” of approximately 31.4%. See below.




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                 FRAUD AND DECEPTIVE PRACTICE ALLEGATIONS


       93.    On November 3, 2015, Lyft issued a new contract that characterized the tax and

BCF amounts as an administrative fee.

       94.    That is, where previously the contract had permitted Lyft to take only their Lyft fee,

and in violation thereof, Lyft deducted additional amounts, after November 3, 2015 Lyft instead

sought to deceive New York drivers by disguising tax and BCF deductions as                   higher

“Administrative Fees” pursuant to the contract.

       95.    As stated herein, the increase in “Administrative Fees” per the contracts in force

from November 3, 2015 to August 7, 2017 was precisely equal to the Tax and BCF sums.
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       96.     As stated herein, Lyft misled drivers by creating a fraud collateral to its contracts

because Defendant could not openly contract for drivers to pay the tax and BCF amounts, as such

clause would be forbidden by N.Y. Tax Law and N.Y. Executive Law, which set forth

nondelegable duties to Lyft, as a vendor, to pay sales tax and the BCF surcharge, respectively.

       97.     Further, instead of merely charging passengers tax and the BCF surcharge in

addition to the fare, as stated herein, in order to remain competitive with their main competitor,

Uber--who did not list taxes and BCF on customer receipts at various times--and in an effort to

maintain low passenger fares to increase their market share, Lyft illegally required drivers to pay

tax and the BCF surcharge on passenger rides by engaging in a fraudulent and deceptive practice

of mischaracterizing an illegal contract provision—that drivers must pay tax and the BCF

surcharge—as an administrative fee.

       98.     Consistent with the market rationale for this deception of drivers, during this period

passenger receipts made no mention of tax and BCF.

       99.     Further indicative of this deceptive misrepresentation contained in the contract,

driver trip records show three discrete fees deducted from the fare price, two of which are equal to

precisely the sales tax and BCF surcharge amounts.

       100.    Thus, the driver trip records from this period amount to admissions of the deceptive

mischaracterization contained in the contract.

       101.    As a result of Defendant’s fraudulent and deceptive misrepresentations, Plaintiffs

and the putative class were harmed in a sum equal to 11.4% of the total fares on every ride

performed in this period, as set forth in detail below.

       102.    This fraudulent practice was continuous until August 7, 2017 (the “August 2017

overhaul”) when Defendant finally began charging passengers tax and the BCF surcharge directly

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and displaying these sums on passenger receipts—finally complying with their obligations under

the tax law. At this time, Defendant also reduced the Administrative fee to reflect the actual non

tax, bona fide Administrative Fee of 20-25%.

       103.      Defendant made this change after its main competitor, Uber, changed its practice

to charge tax and BCF as required under the Tax Law, at which point there was no longer a

rationale for Lyft’s noncompliance in order to remain competitive with Uber.

       104.      Finally, just as it had with its contract violation, Defendant sought to cover up its

fraud, by spoliating contemporaneous records which admit its illegal acts, and replacing them with

false records.

       105.      Defendant’s spoliation of records establishes that its fraud and deception was at all

times willful.


 The November 3, 2015 Contract: Lyft Misrepresents The Deductions For Sales Tax And
 The BCF Surcharge By Calling Them An Administrative Fee For Operating Costs And
               Showing Them As Surcharges On Driver Trip Records

       106.      On November 3, 2015, Lyft issued a new contract. Regarding driver pay terms,

this contract provided that "you agree to pay Lyft (and permit Lyft to retain) a fee of up to 20%

(the "Administrative Fee") of the Ride Fees paid by Riders." In addition, the contract stated, "In

New York you agree to pay Lyft an Administrative Fee of up to 31.4% of Ride Fees to cover

additional operating costs."



       107.      The driver trip records for these trips, when accessed contemporaneously, or saved

prior to Lyft’s August 2017 overhaul of its payment practices, showed three deductions from the

ride fees: a 20% deduction for “Lyft fees,” one “Ride surcharge from driver” of 2.5% of the Ride


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fees, and one “Ride surcharge from driver” of 8.875% of the Ride Fees. See Sample Driver Trip

Record from Dec. 21, 2015, below.




       108.   The same driver trip record for the exact same trip, when accessed in October 2017,

after Lyft overhauled its driver payment practices in August 2017, showed only one deduction

from the Ride Fees, a deduction for “Lyft Fees” of 31.4%. See below.


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           109.   During this period, Lyft’s passenger-facing receipts made no reference to the sales

    tax nor to the BCF surcharge.

           110.   Beginning on January 1, 2016, Lyft began charging new drivers an Administrative

    Fee or Commission of 25% of each Ride Fee.

The February 2016 Contract: Lyft Still Misrepresents Deductions For Sales Tax And The BCF
                 Surcharge As “Surcharges” On The Driver Trip Records

           111.   In February 2016, Lyft issued a new contract.

           112.   The February 2016 contract stated that, “As a Driver you will receive applicable

    Ride Fees (net of Lyft’s Administrative Fee, as discussed below) and any tips.” This contract is

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silent on the amount of Lyft’s administrative fees, but it does give Lyft the right to set prices on

the drivers’ behalf for all charges attributable to the transportation services. The contract states

that Administrative Fee schedules would be separately communicated, and that Lyft reserved the

right to change the Administrative Fee at any time.

       113.    Receipts for both drivers and riders during this period make no reference to the

payment of sales tax or the BCF surcharge. Nonetheless, the amount of total deductions from

within the “Ride Fees” remained approximately 31.4% for drivers who had signed up to drive for

Lyft before January 1, 2016, and remained approximately 36.4% for drivers who signed up to work

for Lyft after January 1, 2016.

       114.    A driver trip record for a trip taken on June 5, 2016 again shows “Lyft Fees” levied

separately from two surcharges, showing a 20% deduction for “Lyft fees,” one “Surcharge” of

2.5% of the Ride Fees, and one “Surcharge” of 8.875% of the Ride Fees. See Sample Driver Trip

Record from June 5, 2016, below.




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       115.    The same driver trip record for the exact same trip, when accessed after Lyft’s

overhaul of driver payment practices in August 2017, shows only one deduction, which is the

aggregate of all the three prior charges, simply labeled “Lyft Fees.” See below.




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       116.    In both records, the amount deducted from the within the Ride Fees equals

approximately 31.4% and on neither receipt is there any reference to sales tax or the BCF

surcharge.

 The September 2016 Contract: Lyft Still Misrepresents Deductions For Sales Taxes And
            BCF Surcharge As “Surcharges” On The Driver Trip Records

       117.    In September 2016, Lyft issued a new contract to its drivers. This contract states,

at Section 5, that “in exchange for permitting you to offer your Services through the Lyft Platform

and marketplace as a Driver, you agree to pay Lyft (and permit Lyft to retain) a fee based on each

transaction in which you provide services (the ‘Commission’).” This contract also states that Lyft

would communicate the specific “Commission Schedule” to drivers through the Driver portal.
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       118.    During this period, Lyft’s Commission rates of 20% or 25% (depending on the

driver’s start-date) remained in effect.

       119.    Lyft’s Commission Schedule during this period also stated, “For drivers in New

York: Lyft also collects an 11.4% administrative charge for operational expenses and the Black

Car Fund.”

       120.    The contract further states, at Section 5, that “you acknowledge and agree that

[payments made to drivers] shall not include any interest and will be net of any amounts that we

are required to withhold by law.”

       121.    Receipts for both drivers and riders during this period as well make no reference to

the payment of sales tax or the BCF surcharge. Nonetheless, the amount of total deductions from

within the “Ride Fees” remained approximately 31.4% for drivers who had signed up to drive for

Lyft before January 1, 2016, and remained approximately 36.4% for drivers who signed up to drive

for Lyft after January 1, 2016.

       122.    A driver trip record from December 18, 2016 again shows the deduction of “Lyft

fees” separate from two other surcharges deducted from within the Ride Fees, showing a 20%

deduction for “Lyft Fees,” one “Surcharge” of 2.5%, and one “Surcharge of 8.875%. See Sample

Driver Trip Record from December 18, 2016, below.




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       123.    The same driver trip record for the exact same trip, when accessed after Lyft

overhauled its payment practices in August 2017, shows only one deduction of approximately

31.4%, which is the aggregate of all three of the prior charges, labeled “Lyft Fees.” See below.




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         124.     In both cases, the total amount deducted from within the Ride Fees equals 31.4%

and on neither receipt is there any mention of taxes of the BCF surcharge.

    The May 24, 2017 Commission Schedule: Lyft Still Misrepresents Deductions For Sales
          Tax And BCF Surcharge As “Surcharges” On The Driver Trip Records

         125.     On May 24, 2017, Lyft issued a new Commission Schedule, not merely posted on

the Driver Portal, or Lyft website, but published as a static document.2




2
  Prior to this time, Lyft had not provided drivers with static copies of their Agreements or Commission Schedules,
either in paper or electronic format, and drivers are currently unable to access prior versions of the Agreement and
Commission Schedule through the Driver Portal.

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        126.   The main purpose of the May 24, 2017 Commission Schedule was to establish the

payment rates for trips, depending on whether or not Lyft charged the passenger for the trip based

on per-mile and per-minute rates (a “Variable fare”) or charged the passenger for the trip based on

a static, up-front price (a “Quoted fare”).

        127.   The Commission Schedule continued the same 20% or 25% rates discussed supra,

as well as the 11.4% “Administrative Fee,” when passengers were charged a Variable fare.

        128.   However, the Schedule states that when passengers are charged a Quoted fare, the

driver will still be paid based on what the fare would have been if it were charged on a per-mile

and per-minute basis as a Variable fare, and that Lyft would calculate and deduct its 20% or 25%

Commission and 11.4% Administrative Fee based on the hypothetical Variable fare amount for

such trips.

        129.   The May 24, 2017 Commission schedule did not change the September 2016

contract other than to amend the Commission Schedule. Issuing this Commission Schedule was

likely the result of Lyft beginning to use Quoted fares in addition to Variable fares.

        130.   The Receipts for both drivers and riders during this period make no reference to the

payment of sales tax or the BCF surcharge. Nonetheless, the amount of total deductions from

within the “Ride Fees” remained approximately 31.4% for drivers who had signed up to drive for

Lyft before January 1, 2016, and remained approximately 36.4% for drivers who signed up to drive

for Lyft after January 1, 2016.

        131.   A driver trip record from June 1, 2017 again shows the deduction of “Lyft Fees”

separate from two other surcharges deducted from within the Ride Fees, showing a 20% deduction

for “Lyft fees,” one “Surcharge” of 2.5%, and one “Surcharge” of 8.875%. See Sample Driver

Trip Record from June 1, 2017, below.

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       132.    The same driver trip record for the exact same trip, when accessed after Lyft

overhauled its payment practices in August 2017, shows only one deduction of approximately

31.4%, which is the aggregate of all three of the prior charges, labeled “Lyft Fees.” See below.




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        133.    In both cases, the amount deducted from the driver equals approximately 31.4%

and neither receipt makes any mention of taxes or the BCF surcharge.

        134.    Despite Lyft’s unannounced alterations of driver trip records, it is clear from Lyft’s prior

statements, and from the percentage amounts of its “Surcharge” deductions, that Lyft has been deducting a

percentage of Fares for itself, and deducting two other amounts from within the fare for the payment of

sales tax and the Black Car Fund surcharge.

        135.    When Lyft first began collecting 8% and 2% deductions, it never claimed that such

fees were part of the “Commission” or “Administrative Fee,” but admitted that such deductions



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were additional deductions from within the fare and were for the payment of sales tax and the BCF

surcharge.

       136.     Those amounts attributable to sales tax and the BCF surcharge were, until August

8, 2017, always taken from within the amount that Lyft designated as the price for transportation

services.

       137.     Furthermore, Lyft charged these same so-called surcharges or administrative fees

on trips to other states where sales tax was not required to be paid. In those instances, the amounts

deducted were not needed for sales tax and Lyft enriched itself at the Plaintiffs’ expense.

 On August 8, 2017, After Three Years Of Deducting Sales Tax And The BCF Surcharge
 From Within Drivers’ Pay, Lyft Ends These Deceptive Deductions To Parallel The Same
                                Change Made By Uber


       138.     On August 8, 2017, Lyft issued a new Commission Schedule and abruptly

eliminated its use of the 11.4% Administrative Fee/surcharge fee.

       139.     That same day, Lyft e-mailed its New York City drivers to explain that, as of that

date, Lyft was “simplifying the rate structure in New York City by removing the 11.4%

administrative fee and adjusting rates.”

       140.     This e-mail includes a comparison of side-by-side fare calculations for the same

hypothetical trip under both the old and new fare calculation structures. The e-mail indicates that

under the pre-8/8/17 structure, Lyft deducted an 11.4% “Lyft Administrative Fee” in addition to a

Lyft Fee from within the amount considered to be the Fare.

       141.     This e-mail indicates that, even though Lyft lowered the per-mile, per-minute and

base fare rates for driver pay, drivers would still make more under the new model because the

“Lyft Administrative Fee” would no longer be deducted from driver pay, which had previously

been a factor in reducing driver pay.
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         142.      The e-mail, combined with Lyft’s earlier representation that such fees represented

the sales tax and Black Car Fund are a clear admission that Lyft’s pre-August 8, 2017 practices

involved the illegal deduction of sales tax and BCF from within the price of the fare, to the drivers’

detriment.

         143.      At the same time, Lyft finally began displaying sales tax and BCF amounts to

customers on customer receipts, showing both amounts properly added on top of the sales price

listed as the cost for transportation services.

         144.      Defendants owe Plaintiffs and the class they seek to represent the amount calculated

to be wrongfully withheld from their pay.

         145.      When Lyft entered the New York market in 2014, its main competitor was Uber.

         146.      At that time, Uber’s practice was to deduct sales tax and the BCF surcharge from

within driver pay, in addition to its 20-28% commission. Additionally, Uber’s customer-facing

receipts made no reference to sales tax and the BCF surcharge.

         147.      Uber, however, did not mischaracterize these charges as “administrative fees.” On

driver pay records, Uber was open about the fact that it was deducting sales tax and the BCF

surcharge from the drivers’ pay.3

         148.      To the extent that Uber was forcing its drivers to “eat the cost” of the sales tax and

BCF surcharge, this was done, on information and belief, to keep the cost of its total customer fare

pricing lower than it would have been if Uber had charged tax and BCF on top of the fare amount,

as required by New York tax law, so as to attract customers and build up market share.




3
  This practice constitutes a breach of Uber’s contract with its drivers, and counsel for Plaintiffs in this matter are also
litigating this issue in Aleksanian et al v. Uber Technologies et al., 1:19-cv-10308 (S.D.N.Y.).
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       149.    When Lyft entered the New York City market, it followed Uber’s lead and

structured its fare, payment, and sales tax practices in a similar manner.

       150.    In May of 2017, Plaintiff Haider, who was also a plaintiff in Haider v. Uber

Technologies, Inc., et al., 1:16-cv-04098 (S.D.N.Y.) (AKH), filed a second amended complaint in

that case, in which he again claimed that the deduction of sales tax and the BCF surcharge was not

only a breach of his contract with Uber, but also that Uber’s practice of treating the tax and BCF

amounts as within the sales price of its rides violated N.Y. Tax Law. Specifically, the second

amended complaint added citations to the particular statutes and provisions of the N.Y. Tax Law

and N.Y.C.R.R. prohibiting the use of such a “tax-included” method.

       151.    Within 10 days of filing this amended complaint, Uber had completely overhauled

its payment practices, abandoning the use of its tax-included method and no longer removing sales

tax and BCF from within the amount designated as the fare.

       152.    At this time, there was significant press coverage of Uber’s payment practices

regarding its driver contract and treatment of the sales tax and BCF surcharge.

       153.    Notably, the New York Times published three in-depth stories between May and

July of 2017 on the scope and questionable legality of Uber’s practices. Some of these stories also

raised questions about Lyft’s treatment of the tax and BCF surcharge as it related to whether Lyft

was paying its drivers properly.

       154.    A May 23, 2017 article in the New York Times noted that “Lyft [] appears to deduct

the sales tax from drivers’ earnings as well. A Lyft driver’s receipt from July 24, 2016, depicts an

overall fare of $16.34 and two deductions labeled “Ride Surcharge From Driver” that precisely

equal the black-car surcharge and sales tax amounts.” Noam Scheiber, Uber to Repay Millions to

Drivers, Who Could Be Owed Far More. N.Y. TIMES (May 23, 2017), available at

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https://www.nytimes.com/2017/05/23/business/economy/uber-drivers-tax.html (Last accessed:

Feb. 26, 2019).

       155.    On July 5, 2017, a follow-up article in the New York Times stated, “Lyft [] deducts

11.4 percent from the fares received by drivers in New York, which appears to largely cover the

amounts owed for sales tax and workers’ compensation fund.” Lyft’s spokesman, Adrian Durbin,

told the Times, “We do not collect sales tax from drivers.” Noam Scheiber, How Uber’s Tax

Calculation May Have Cost Drivers Hundreds of Millions. N.Y. TIMES (July 5, 2017), available

at     https://www.nytimes.com/2017/07/05/business/how-uber-may-have-improperly-taxed-its-

drivers.html (Last accessed: Feb. 26, 2019).

       156.    Roughly a month after that article was published, consistent with Uber’s payment

and tax treatment overhaul, Lyft followed suit, and stopped deducting 8.875% and 2.5%

“surcharges” from within each fare, and began clearly assessing on customer receipts an 8.875%

amount which it labeled as the sales tax, and a 2.5% amount which it labeled as the BCF surcharge

on top of each fare, as required by New York law.


        COMMON ALLEGATIONS RELATING TO DEFENDANT’S BREACH
            OF CONTRACT, FRAUD AND DECEPTIVE PRACTICE

       157.    At all times relevant to this complaint, all drivers who worked for Lyft at any time

between November 2014 and August 8, 2017 were subject to the improper deduction of Sales Tax

and Black Car Fund surcharges from their pay.

       158.    At all times relevant to this complaint, state law prohibited Lyft from including the

amount of the taxes and BCF surcharge within the price of the fare.

       159.    At all times relevant to this complaint, it was illegal for Lyft to shift the payment

of sales tax and the BCF surcharge from the consumer to the drivers.


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        160.    From November 24, 2014 to November 3, 2015, Lyft deducted either an extra 10%

or 11.4% from drivers’ pay in violation of the terms of the contract.

        161.    At all times relevant, after November 3, 2015 the contracts given to Lyft drivers

misrepresented the amounts taken from drivers, which equaled the amounts of sales taxes and the

BCF surcharge, as administrative fees or other surcharges. Thus Lyft engaged in a fraud on the

drivers subjecting them to a loss of approximately 11.4% of each fare.

            CLASS ACTION ALLEGATIONS PURSUANT TO FRCP 23

        162.    Although named Plaintiff Haider has opted out of the arbitration provision of the

employment contract, the arbitration agreement is not binding as all named Plaintiffs and members

of the class they seek to represent are transportation workers engaged in interstate commerce and

thus exempt from section 1 of the Federal Arbitration Act.        Named Plaintiffs bring claims on

behalf of themselves and a class of Lyft drivers who worked for Lyft in New York City at any time

between November 24, 2014 and August 8, 2017.

        163.    Plaintiffs’ claims are brought pursuant to Rule 23 of the Federal Rules of Civil

Procedure (Fed. R. Civ. P.) so as to remedy violations of the contract discussed above. Plaintiffs

bring this case on behalf of themselves and on behalf of all others similarly situated in New York,

hereafter, the “class action Plaintiffs.”

        164.    They seek to represent a class of New York City Lyft drivers who have been subject

to contract violations and fraud claims set forth in this complaint for the period of in or about

November 24, 2014 to November 5, 2015 as to the breach of contract and November 3, 2015 to

August 8, 2017 as to the fraud (hereafter the “class action period.”).

        165.    The class action Plaintiffs, at various times, electronically accepted Lyft’s contract

in order to receive Lyft dispatches.

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        166.    The class action Plaintiffs are readily ascertainable since the identity, addresses,

and time and pay records of each such Class member are determinable from the Defendant’s

records. Notice can be provided pursuant to Rule 23 of the Fed. R. Civ. P.

        167.    Joinder of all Class members is impracticable. Upon information and belief, there

are at least 30,000 or more Lyft drivers in New York City who could potentially be in the Class.

        168.    The representative Plaintiffs’ claims are typical of those claims that could be

alleged by any member of the class. The relief sought by the Plaintiffs is typical of the relief that

would be sought by each member of the Class in separate actions. All class action Plaintiffs were

subject to the same tax and BCF-related policies and practices alleged herein and were parties to

the same contracts, and victims to the same systemic deception by Lyft in the relevant period. The

aforesaid policies and practices of Defendants similarly affect all of the Named Plaintiffs and the

class action Plaintiffs. Named Plaintiffs and members of the class they seek to represent have

sustained similar injuries and damages as a result of Defendant’s unlawful acts and/or omissions.

        169.    The representative Plaintiffs are fit to fairly and competently represent and protect

the interests of the class action Plaintiffs. For the purposes of this action, the named Plaintiffs have

no interests that conflict with those of the class action Plaintiffs. Representative Plaintiffs’

attorneys have considerable experience with class action litigation.

        170.    Disposition of the claims as a class action is superior to any other available means

of adjudication for the foregoing reasons:

            •   Class members are workers who individually lack the necessary resources to

                effectively litigate against a corporate defendant;

            •   A class action is in the interests of judicial economy as individual litigation would

                result in the expenditure of considerable public resources;

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 •   Injuries suffered by each Class member individually are small in comparison to the

     cost of individual litigation, dissuading and precluding redress of their claims;

 •   The claims shared by Class members involve important public policy interests that

     would otherwise go unaddressed due to the aforesaid barriers to and limitations of

     individual litigation, and;

 •   A class action will provide anonymity for those Class members whose fear of

     retaliation would otherwise dissuade them from asserting their rights as many Class

     members are still driving by for the Defendants.

 •   Numerous questions of law and fact are common to all Class members and

     predominate over those of any individual Class member, including:

 •   Whether Defendant breached its contract with drivers from November 24, 2014 to

     November 3, 2015;

 •   Whether from November 3, 2015 to August 8, 2017 Defendant was engaged in

     fraud to enrich the Company at drivers’ expense by misrepresenting as

     “Surcharges” or as an “Administrative Fee” taxes and BCF monies illegally

     deducted from drivers—which under Tax Law Lyft was not permitted to openly

     delegate to drivers by contract;

 •   Whether this fraud was collateral to the contracts entered by Class Members from

     November 3, 2015 to August 8, 2017;

 •   Whether Defendant by misrepresenting illegal Tax and BCF deductions as

     “Administration Fees” engaged in deceptive practices under N.Y. General Business

     Law § 349.




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           •    Whether each driver trip records amounts to a discrete act of fraud for purposes of

                N.Y. General Business Law § 349.

           •    Whether Defendant’s acts were willful within the meaning of N.Y. General

                Business Law § 349.


                                FIRST CLAIM FOR RELIEF
                                      Breach of Contract
               (Brought by All Plaintiffs on Behalf of Themselves and the Class )

       171.     Plaintiffs, on behalf of themselves and those similarly situated, repeat, reiterate and

incorporate each and every preceding paragraph as if set forth fully herein.

       172.     From November 24, 2014 to November 3, 2015, Defendant’s actions and

omissions, as alleged above, constituted independent and separate breaches of the contract entered

into by Plaintiffs and those similarly situated and the Defendant. These violations include the

unlawful deductions made from Plaintiffs’ contractually due share of fares.

       173.     That is, Defendant took Surcharges totaling 10% and approximately 11.4% from

drivers’ pay, in violation of the applicable contracts in effect during the relevant period.

       174.     As a direct and proximate result of Defendant’s breaches, Plaintiffs and others

similarly situated, have been damaged in an amount as yet to be determined.

                              SECOND CLAIM FOR RELIEF
                                            FRAUD
               (Brought by All Plaintiffs on Behalf of Themselves and the Class)

       175.     Plaintiffs on behalf of themselves and those similarly situated, repeat, reiterate and

incorporate each and every preceding paragraph as if set forth fully herein.

       176.     From in or about November 3, 2015 to August 8, 2017 , Defendant deducted

amounts from all Lyft New York City driver’s pay in amounts equal to the amounts Lyft was

required to pay for Sales tax and BCF Surcharges, while misrepresenting that such amounts were
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merely “Surcharges” or other administrative fees, while also publicly claiming that such

deductions did not result in drivers paying the cost of Lyft’s sales tax obligations.

       177.    This fraudulent misrepresentation was collateral to and extraneous to the contracts

agreed to by the Plaintiffs, entitling them to damages in the amount equal to the tax and BCF

surcharges deducted from their pay based on these misrepresentations.

                              THIRD CLAIM FOR RELIEF
                       Violation of N.Y. General Business Law § 349
              (Brought by All Plaintiffs on Behalf of Themselves and the Class)

       178.    Plaintiffs on behalf of themselves and those similarly situated, repeat, reiterate, and

incorporate each and every preceding paragraph as if set forth fully herein.

       179.    From in or about November 3, 2015 to August 8, 2017, Defendant engaged in the

deceptive practice of misrepresenting deductions of amounts equal to the sales tax and BCF

surcharge as merely “Surcharges” or other administrative fees, materially misleading drivers as to

the purpose of these deductions, and injuring drivers as a result of this deceptive act, in an amount

equal to the total amount of “Surcharges” or other administrative fees deducted from within each

fare during this period.

                                        RELIEF SOUGHT

WHEREFORE, Plaintiffs on behalf of themselves and the class action Plaintiffs, request relief as

follows:

       A. Designation of this action as a class action pursuant to Rule 23 of the Fed. R. Civ. P.

            for the purposes of the claims brought on behalf of the class action Plaintiffs;

       B. An award of damages for all breach of contract claims;

       C. An award of damages for all fraud claims;

       D. An award of damages for deceptive practices under N.Y. G.B.L. § 349;

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